Case 2:20-cv-06602-SHK Document 21 Filed 04/26/21 Page 1 of 1 Page ID #:1790




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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11    ULIVARDO AVALOS,                                 Case No. 2:20-cv-06602-SHK
12                                  Plaintiff,
                         v.
13
      ANDREW M. SAUL,                                  JUDGMENT
14    Comm’r of Soc. Sec. Admin.,
15                                  Defendant.
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17
18         It is the judgment of this Court that this case is DISMISSED without
19   prejudice consistent with the Court’s Order.
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     DATED: 04/26/2021
22                                   HONORABLE SHASHI H. KEWALRAMANI
23                                   United States Magistrate Judge

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